Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 1 of 10




          EXHIBIT A
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 2 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 3 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 4 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 5 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 6 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 7 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 8 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 9 of 10
Case 6:20-cv-00473-ADA Document 31-2 Filed 10/05/20 Page 10 of 10
